           Case 1:18-cv-03309-PJM Document 148-1 Filed 01/31/19 Page 1 of 10



                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                  SOUTHERN DIVISION


    FEDERAL TRADE COMMISSION

                      Plaintiff,

      v.                                             Civil Action No. 1:18-cv-03309-PJM
    ECOLOGICAL FOX, LLC, et al.

                      Defendants/Relief
                      Defendants.


     MEMORANDUM IN SUPPORT OF DEFENDANT ATLANTIC INTERNATIONAL
                    BANK, LTD’S MOTION TO STRIKE

           Atlantic International Bank, Ltd. (“AIBL”) hereby files this Memorandum in Support of

its Motion to Strike Portions of Luke Chadwick’s Declaration submitted in support of the Federal

Trade Commission’s (“FTC”) Opposition to AIBL’s Motion to Dismiss. AIBL moves to strike

the portions of Chadwick’s Declaration that are not based on Chadwick’s personal knowledge and

contain hearsay. Declarations or affidavits 1 submitted in support of or in opposition to a motion

can only be considered when they are admissible. Accordingly, those portions of Chadwick’s

Declaration that constitute conjecture as to AIBL’s motivations and beliefs are not admissible

evidence, and therefore should not be considered in connection with AIBL’s Motion to Dismiss.




1
        The terms declaration and affidavit are used interchangeably. Soutter v. Equifax Info.
Servs. LLC, 299 F.R.D. 126, 128, n.4 (E.D. Va. 2014) (explaining that the terms declaration and
affidavit are used interchangeably “in common parlance and in case law as well”).
       Case 1:18-cv-03309-PJM Document 148-1 Filed 01/31/19 Page 2 of 10



                                           ARGUMENT

       A.      Personal Knowledge Is Necessary For Testimony Submitted To The Court.

       Federal Rule of Civil Procedure 43 permits courts to take testimony or consider

declarations in connection with ruling on a motion. See Fed. R. Civ. P. 43(c). The Federal Rules

of Evidence govern admissibility of this testimony. Fed. R. Evid. 602 “teache[s] that personal

knowledge is the predicate of reliability.” Soutter v. Equifax Info. Servs. LLC, 299 F.R.D. 126,

131 (E.D. Va. 2014). “Thus, Fed. R. Evid. 602 applies to testimony, whether ore tenus or by

affidavit or declaration[.]” Id. Although Rule 43 is silent regarding the criteria for declarations

used in support or opposition to a motion, courts have applied the criteria for declarations set forth

in Federal Rule of Civil Procedure 56 for motions for summary judgment to motions to dismiss

for lack of jurisdiction and other threshold motions. See, e.g., Lujan v. Cabana Management, Inc.,

284 F.R.D. 50 (E.D.N.Y. 2012); Soutter, 299 F.R.D. at 132. In Lujan v. Cabana Management,

Inc., in considering whether to apply admissibility requirements of a Rule 56 affidavit to one used

in support or opposition to a motion for class certification, the court noted that “in determining a

threshold issue, such as jurisdiction, courts may not rely on inadmissible hearsay.” Id. at 64. The

Lujan court reasoned that the same principles of inadmissibility should apply to declarations

submitted in support of a motion for class certification. See id. at 65.

       In Soutter, the court held that an affidavit submitted in opposition to a motion for class

certification must be based on personal knowledge. Soutter, 299 F.R.D. at 132. The court

remarked that it would not “exempt” the affidavit submitted in opposition to the motion for class

certification “from the personal knowledge requirement that is so widely recognized as imbuing

testimony with sufficient reliability to allow courts to credit it.” Id. The Soutter court further

acknowledged that “‘courts may not rely on inadmissible hearsay’ in deciding a challenge to


                                                  2
       Case 1:18-cv-03309-PJM Document 148-1 Filed 01/31/19 Page 3 of 10



jurisdiction.’” Id. at 131 (quoting Lujan v. Cabana Management, Inc., 284 F.R.D. at 64). In sum,

the declarations the FTC submitted in opposition to AIBL’s threshold motion to dismiss for lack

of jurisdiction require the same level of admissibly as a declaration submitted in support of a

motion for summary judgment.

       B.      Chadwick’s Declaration Contains Inadmissibly Hearsay And Lacks Personal
               Knowledge.

       Chadwick’s Declaration does not meet the Rule 56 standard of admissibility. Specifically:

       Paragraph 3, Second Sentence (“We agreed to cooperate because we both understood

that, as I explain herein, working together would further both parties’ interests.”). Chadwick has

no basis for testifying as to Pelayo’s thoughts and motivations; consequently this sentence should

be stricken. See It’s My Party, Inc. v. Live Nation, Inc., No. JFM-09-547, 2012 U.S. Dist. LEXIS

119625, at *30 (D. Md. Aug. 23, 2012) (affidavits must be based on personal knowledge; those

portions that are not should be stricken); Williams v. Evangelical Retirement Homes, 594 F.2d 701,

703 (8th Cir. 1979) (affidavits must be based on personal knowledge).

       Paragraph 4, Fourth Sentence (“Thus, AIB and SBE agreed to coordinate because it

furthered our mutual interests.”). Chadwick has no basis for testifying as to the reasons for AIBL’s

actions.

       Paragraph 7 (regarding allegedly “interrelated companies known as Atlantic Group”).

Chadwick has no basis for putting his name to this FTC-generated paragraph alleging that various

Belizean companies are “interrelated.” They are not, as testified to by Ricardo Pelayo, AIBL’s

Chief Executive Officer, who actually is familiar with the entities’ ownership. It is clear that

Chadwick has no basis for the conjecture in this paragraph, which should therefore be stricken.

       Paragraph 8, Second Sentence (“Among other reasons, because AIB was present when

SBE was selling lots, AIB knew what SBE was selling and to whom.”). This is pure speculation.

                                                 3
       Case 1:18-cv-03309-PJM Document 148-1 Filed 01/31/19 Page 4 of 10



Merely because AIBL was physically present for certain aspects of Sanctuary Bay’s tours does not

mean that it was eavesdropping on SBE’s conversations with potential customers. This speculative

assertion must be stricken.

       Paragraph 8, Ninth Sentence (“AIB was privy to how assisting SBE meant assisting a

sales process directed at the United States and to U.S. residents who would remain U.S. residents

either indefinitely, or for years before, moving to Belize.”) Again, this is pure speculation made

without personal knowledge. Even if Chadwick were correct that AIBL was “present” when it

was explained that consumers could not move to Sanctuary Bay until they had built a home –

which seems obvious, unless Chadwick expected a village of pup tents – he has no basis for

asserting that “assisting SBE meant assisting a sales process directed at the United States and to

U.S. residents who would remain U.S. residents.” In addition to not being within Chadwick’s

personal knowledge this assertion is impermissibly conclusory. See Carey v. Beans, 500 F. Supp.

580, 583 (E.D. Pa. 1980) (affidavits must be “devoid of hearsay, conclusory language and

statements which purport to examine thoughts as well as actions”).

       Paragraph 9, Second Sentence (“By virtue of attending these tours, and for other reasons,

including other reasons in this declaration, AIB understood how the SBE sales and marketing

process worked including: (a) SBE ran complex, multi-faceted advertising using television, the

internet, and other media intended to cause consumers to become interested in purchasing lots in

Belize, and then to provide their contact information to SBE; (b) SBE’s marketers targeted

primarily U.S. residents; (c) consumers submitted their contact information to SBE; and (d) SBE

sales representatives contacted the consumers from a California call center.”). This statement is

impermissibly conclusory and not based on personal knowledge. Chadwick (or the drafters at the

FTC) fail to explain how Chadwick could know what “AIB understood” generally and, more



                                                4
       Case 1:18-cv-03309-PJM Document 148-1 Filed 01/31/19 Page 5 of 10



specifically, how being present for part of the Sanctuary Bay tours would necessarily lead AIBL

to conclude that “SBE ran complex, multi-faceted advertising using television, the internet, and

other media intended to cause consumers to become interested in purchasing lots in Belize, and

then to provide their contact information to SBE;” that “SBE’s marketers targeted primarily U.S.

residents;” that “consumers submitted their contact information to SBE;” or that “SBE sales

representatives contacted the consumers from a California call center.” The sentence must be

stricken.

       Paragraph 10, First Sentence (“Because, among other reasons, AIB representatives

attended the tours, AIB understood the claims SBE made to consumers to persuade them to attend

Sanctuary Belize sales tours during which AIB representatives met and interacted with them.”).

This statement is inadmissible as it consists entirely of “conclusory language and statements which

purport to examine thoughts as well as actions.” Carey, 500 F. Supp. at 583. Chadwick also has

no basis for his speculation that, by being “present” at certain tours to offer information on its

banking services, AIBL necessarily “understood the claims SBE made to consumers to persuade

them to attend Sanctuary Belize sales tours.” This sentence must be stricken.

       Paragraph 10, Third Sentence (“No later than 2012, when AIB began sending

representatives on Sanctuary Belize property tours, AIB understood that SBE was making these

points to consumers as part of the sales process.”). Chadwick has no personal knowledge of what

AIBL understood. Further, this sentence is an impermissible “statement[] which purport[s] to

examine thoughts as well as actions.” Carey, 500 F. Supp. at 583.

       Paragraph 12, First Sentence (referring to Aldo Salazar, AIBL’s outside counsel, as

“AIB’s in-house counsel”).      Chadwick has no personal knowledge as to Mr. Salazar’s




                                                5
       Case 1:18-cv-03309-PJM Document 148-1 Filed 01/31/19 Page 6 of 10



employment, and certainly does not claim any personal knowledge in his declaration. This

assertion must be stricken.

       Paragraph 13, First Sentence (“AIB and SBE used the meeting to further solidify their

relationship”). Chadwick cannot possibly know AIBL’s motivations for attending the meeting or

whether AIBL felt that the meeting had accomplished anything. This statement plainly constitutes

“conclusory language and statements which purport to examine thoughts as well as actions.”

Carey, 500 F. Supp. at 583.

       Paragraph 13, Second Sentence (“Among other things, both parties wanted AIB to see

SBE’s U.S.-based component, and both parties wanted SBE’s sales representatives to understand

the bank’s services better so that they could be presented to consumers.”). Again, Chadwick

cannot possibly know AIBL’s motivations for attending the meeting or whether AIBL felt that the

meeting had accomplished anything. This statement, too, plainly constitutes “conclusory language

and statements which purport to examine thoughts as well as actions.” Carey, 500 F. Supp. at 583.

       Paragraph 14, Seventh Sentence (“AIB and SBE both understood that the offshore

banking presentation were meant to improve the SBE sales representatives’ ability to present

AIB’s services to consumers to assist SBE in the sales process.”). Chadwick has no personal

knowledge on which to base his assertion of AIBL’s understanding. It is, like the previous

statements, impermissible “conclusory language and statements which purport to examine

thoughts as well as actions.” Carey, 500 F. Supp. at 583.

       Paragraph 18, Sixth Sentence (“It is my belief that this meetin[g] occurred.”) Chadwick

telegraphs his lack of personal knowledge. “[S]tatements prefaced by the phrases, ‘I believe’ or

‘upon information and belief’ or those made upon an ‘understanding’ are properly subject to a

motion to strike.” Carey, 500 F. Supp. at 583.



                                                 6
       Case 1:18-cv-03309-PJM Document 148-1 Filed 01/31/19 Page 7 of 10



       Paragraph 22, Fifth Sentence (“SBE explained to AIB, and AIB understood, that if

requested to do so, SBE would provide the appraisals to prospective purchasers to help persuade

them to buy.”). Once again, Chadwick has no basis for attesting to AIBL’s understanding. See

Carey, 500 F. Supp. at 583 (affidavits and declarations containing “conclusory language and

statements which purport to examine thoughts as well as actions” are impermissible and are not

evidence).

       Paragraph 25, Second Sentence (“As discussed herein, AIB had extensive knowledge

concerning the development plan and SBE’s sales and marketing process.”). Again, Chadwick

has no personal knowledge regarding the extent of AIBL’s knowledge and understanding of

“SBE’s sales and marketing process,” and his conclusory speculation in this regard is

impermissible.

       Paragraph 25, Third Sentence (“However, to my knowledge, AIB did not perform any

additional due diligence or underwriting with respect to SBE’s loan guarantee.”). Once again,

Chadwick signals his lack of personal knowledge. Statements qualified by “to my knowledge”

are appropriately stricken. See Carey, 500 F. Supp. at 583.

       Paragraph 25, Fourth Sentence (“AIB never asked SBE for accounting records of any

sort.”). Chadwick offers no explanation as to how he would have personal knowledge of this

statement. He could perhaps say that AIBL never asked him for accounting records, but that is a

far cry from saying – without specifying his basis of knowledge – that AIBL never asked anyone

in SBE for accounting records.

       Paragraph 26 (referring, again, to “Atlantic Group affiliates). Chadwick has no basis for

the statements in this paragraph regarding the relationships between and ownership of AICS, BPA

and AIBL, and does not even attempt to explain how he came by this supposed knowledge. All



                                                7
       Case 1:18-cv-03309-PJM Document 148-1 Filed 01/31/19 Page 8 of 10



statements in this paragraph regarding the relationships between and ownership of AICS, BPA and

AIBL should be stricken.

       Paragraph 27, Second Sentence (“I explained to AIB, and AIB understood, Coldwell

Banker’s business would be the resale of Sanctuary Belize lots as well as any other business

Coldwell Banker would conduct in the region in the ordinary course.”). Chadwick has no basis

for stating what “AIB understood.” This, too, is a classic case of an impermissible “statement[]

which purport[s] to examine thoughts as well as actions.” See Carey, 500 F. Supp. at 583; see also

It’s My Party, Inc., 2012 U.S. Dist. LEXIS 119625, at *30 (affidavits must be based on personal

knowledge; those portions that are not should be stricken).

       Paragraph 29, Fourth Sentence (“Among other things, AIB was concerned about the

effect Tarnished Dreams could have on current Sanctuary Belize owners who were considering

financing construction through AIB but now might postpone.”). Chadwick has no personal

knowledge as to the nature of AIBL’s concerns about the article. Again, Chadwick (and his

ghostwriters at the FTC) attempt to insert an an impermissible “statement[] which purport[s] to

examine thoughts as well as actions.” See Carey, 500 F. Supp. at 583; see also It’s My Party, Inc.,

2012 U.S. Dist. LEXIS 119625, at *30 (affidavits must be based on personal knowledge; those

portions that are not should be stricken).

       Paragraph 30, Third Sentence (“It is not credible to me that AIB did not know that Pukke

ran SBE’s sales and marketing no later than January 2014, when Enderle published Tarnished

Dreams and the ensuing public controversy over the development’s status.”). Chadwick’s rank

conjecture as to AIBL’s knowledge of Pukke’s involvement in SBE is inadmissible, and must be

stricken. See It’s My Party, Inc., 2012 U.S. Dist. LEXIS 119625, at *30 (affidavits must be based




                                                8
       Case 1:18-cv-03309-PJM Document 148-1 Filed 01/31/19 Page 9 of 10



on personal knowledge; those portions that are not should be stricken); Carey, 500 F. Supp. at 583

(conclusory statements and statements about others’ thoughts and knowledge are impermissible).

        Paragraph 32, First and Second Sentences (more conclusory assertions as to Aldo

Salazar being “AIB’s in-house counsel” and that Atlantic Bank Limited and AIBL were “Atlantic

Group affiliates”). Chadwick has no personal knowledge as to Mr. Salazar’s employment, and no

personal knowledge concerning the ownership or alleged “affiliation” between AIBL and Atlantic

Bank. Such conjecture should be stricken. See It’s My Party, Inc., 2012 U.S. Dist. LEXIS 119625,

at *30 (affidavits must be based on personal knowledge; those portions that are not should be

stricken).

        Paragraph 32, Seventh Sentence (Pelayo and Salazar “may have” known of Pukke’s role

in SBE). This, again, is rank conjecture, and should be stricken. See It’s My Party, Inc., 2012

U.S. Dist. LEXIS 119625, at *30 (affidavits must be based on personal knowledge; those portions

that are not should be stricken).

                                        CONCLUSION

        For the foregoing reasons, AIBL respectfully requests the Court strike the portions of the

Chadwick’s Declaration set forth above and not consider these statements when ruling on AIBL’s

Motion to Dismiss.




                                                9
     Case 1:18-cv-03309-PJM Document 148-1 Filed 01/31/19 Page 10 of 10



                                          Respectfully submitted,

DATE: January 31, 2019                    /s/ Creighton R. Magid
                                          Creighton R. Magid (Bar No. 15488)
                                          DORSEY & WHITNEY LLP
                                          1401 New York Avenue, N.W., Suite 900
                                          Washington, DC 20005
                                          Telephone: (202) 442-3555
                                          Fax: (202) 442-3199
                                          magid.chip@dorsey.com

                                          Counsel for Defendant Atlantic
                                          International Bank, Ltd.




                                     10
